Case 1:20-cr-O0008-MKB Document 105-27 Filed 02/13/23 Page 1 of 5 PagelD #: 730
a

Yes shark tank
You would be such a great shark!

I’m at a networking event right now working some magic to find some
more connections for alchmeist as well

1M e)xe)omivelel(claha ol-minr-lmnl(e-m me-lah@-jr-lale M110) o)(e Me (—1-\- Me) ml ol-te)e)(—

Y} Y} Yi

WN of |

Haha that’s why you have me! :)

3/20/18, 11:07 PM

Notes:

to be in Korea April 7-8
pril /: Joint meetup with (rent out big hotel venue)
April 8: Meeting with ond
BEE *© ping other investors in Korea as well.

If these dates are confirmed | can start moving ASAP

to get back to Steve regarding loan after projections are
completed

Ok JB is willing to meet April 8

Yes J has a blockchain investing arm now

But they’re more like a traditional VC but regardless they’re connected
with everyone in Korea

It'd be a good meeting

3/21/18, 1:09 AM

[@fere)|

PN Com tat -\V oLess-1] 0) (M3 (0) 94

ASM arm Com ie LU e—melel minty SIU

i talial@l mate W iow exe) (Ulceya)

Page 7 of 15
Case 1:20-cr-O0008-MKB Document 105-27 Filed 02/13/23 Page 2 of 5 PagelD #: 731
a

What i issue?

BB atm eC t gaa aCe OM (oles cate MO] om Ce) Cals
There’s no way to distribute it out...
People are constantly watching

A AVM aF-Ye Wr-lale-lele-t-vanl-lale

We're already at risk because of the presale

CE Boe) bed

Thanks but | can't babysit
them anymore. Like | said if
they could prove their math
then we would have seen it
but we haven't because the
etherscan is permanent and
anyone who can code can
fact check them. If there is
no code that produces the
airdrop addresses consider
this project a scam

Binance not listing bad
Project and potential scam
coin

WHEH ity Say I Was JO

and you can disprove this in
etherscan. The airdrop will
be a scarn because they
wor't release the code that is
used to find the eligible
addresses which is a

requirement for having an
airdrop. i -
advising Which
is a direc’ Hom petitor

meanwhile his own company
doesn't have a roadmap.
HEB sised 80m dollars
minimum not 32m as the
claim. | think it is t a
updates their pie chart for
the third time to show how
many tokens they sold
(~550m). They are hiding
this. Airdrop is ~1.15b
tokens total unless storm
can show math to prove
otherwise.
Case 1:20-cr-O0008-MKB Document 105-27 Filed 02/13/23 Page 3 of 5 PagelD #: 732

The tearm gets their tokens
after 1 year ask them
yourself or read the blog

ain. There are several 25m
wallets and a 70m wallet
that look like they are for
employees based on the
creation date expect a
massive dum en those
get released You need
to release information
regarding where you sent
1.65b tokens and why you
have these mysterious
wallets floating around
Where is the code that
manages these wallets and
says release date. Your token
economics ne to be
public in all ways this is
blockchain not a hot dog
stand

This coin is missing the third
iteration of its pie chart that
would prove the numbers
nse because the pie
S posted was
outdated. The presale bonus
was over 100% according to
presale investors and if
storm could prove otherwise
then they would have done
so by now. They are lying
when they say it was 53%
and you can disprove this in
etherscan. The airdrop will
be a scar because they
won't release the code that is
used to find the eligible
addresses which is a
requirement for having an
airdrop. Simon the ceo is

on blue whale which
storm competitor
meanwhile his own company
doesn't have a roadmap

Thanks but | can't babysit
them anymore. Like | said if
they could prove their math
then we would have seen it
but we haven't because the
etherscan is permanent and
anyone who can code can
fact check them. If there is
no code that produces the
airdrop addresses consider
this project a m

Case 1:20-cr-O0008-MKB Document 105-27 Filed 02/13/23 Page 4 of 5 PagelD #: 733
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This was from this morning

Presale was oversubscribed because of the wrong spreadsheet

And 100% calculation became 200% because the formulas were wrong
And we didn’t have the excel

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S101 M--) Ce) ©) ol-Le R-X-)1 ll ale}

(isso |
Gator)

If we do the airdrop tokens to your wallet addresses it'll cause 100%
noise

Steve you really need to work with us for the long term

You are the single largest holder

If you try and do the airdrop | guarantee you there will be noi” left
iM at-\—ar- ve) [01 (0) )

There will be nothing left

Ne ke

Aare Tere Tig

A A'(MF- Tore [Ui v—m-valelele lame) mele] mer (1pm Con olU|ceat-\-\-M Ui) m-1alee le] nce). ce)
NV/at-\@-M(el6 (eM oma) ]t(—10 Mm CoM ce) mele] m-1] Ke] Kee)

SW rat=\-1e (Ma tal -S-1 8 (0) MU [\-1 mm OU] f olesX-1-)

No that will not work

BB ata ate Lele li Nmel ne) mela mal) ETele| cts

Everything is public

1a) MIL Com oke)Calir-l Nm allele | c-ve lomo) Manlio) pty

People will sue

eee male
Case 1:20-cr-O0008-MKB Document 105-27 Filed 02/13/23 Page 5 of 5 PagelD #: 734
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MoM elU kere nnn el

Steve your risking your entire investment

There’s no one that even comes close to you
| don’t even own any

None of the founders even

3/21/18, 1:20 PM

C=»

3/23/18, 8:02 PM

Are you witnessing the magic of Korea??

And Korea is just waking up now

We might break a Guinness world record!!

le) Waalie

fo Ka

A a= tal tome le) ale Lita

We might break a record

We already surpassed [ when they were sleeping

3/23/18, 9:58 PM

FS Ta Nae) im Ca) MYe) Oleg (nM ant) Tee

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